          Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 1 of 17



BRIAN M. BOYNTON
Principal Deputy Assistant Attorney General
BRIAN D. NETTER
Deputy Assistant Attorney General
JOSHUA REVESZ
Counsel, Office of the Assistant Attorney General
ALEXANDER K. HAAS
Director, Federal Programs Branch
DANIEL SCHWEI
Special Counsel
LISA NEWMAN (TX Bar No. 24107878)
ANNA DEFFEBACH
EMILY NESTLER
Trial Attorneys
JULIE STRAUS HARRIS
Senior Trial Counsel
U.S. Department of Justice
Civil Division, Federal Programs Branch
1100 L Street, N.W.
Washington, D.C. 20005
Tel: (202) 514-5578
lisa.n.newman@usdoj.gov

Counsel for Plaintiff
United States of America

[Additional counsel listed below]

                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                         Plaintiff,                       Case No. 1:22-cv-329

 v.                                                       COMPLAINT

 THE STATE OF IDAHO,

                         Defendant.


        The United States of America, by and through its undersigned counsel, brings this civil action

for declaratory and injunctive relief, and alleges as follows:
            Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 2 of 17



                                 PRELIMINARY STATEMENT

       1.       Under federal law, hospitals that receive federal Medicare funds are required to provide

necessary stabilizing treatment to patients who arrive at their emergency departments while

experiencing a medical emergency.       Under the Emergency Medical Treatment and Labor Act

(EMTALA), 42 U.S.C. § 1395dd, if a person with an “emergency medical condition” seeks treatment

at an emergency department at a hospital that accepts Medicare funds, the hospital must provide

medical treatment necessary to stabilize that condition before transferring or discharging the patient.

Crucially, “emergency medical conditions” under the statute include not just conditions that present

risks to life but also those that place a patient’s “health” in “serious jeopardy” or risk “serious

impairment to bodily functions” or “serious dysfunction of any bodily organ or part.”

       2.       In some circumstances, medical care that a state may characterize as an “abortion” is

necessary emergency stabilizing care that hospitals are required to provide under EMTALA. Such

circumstances may include, but are not limited to, ectopic pregnancy, severe preeclampsia, or a

pregnancy complication threatening septic infection or hemorrhage.

       3.       The State of Idaho, however, has passed a near-absolute ban on abortion. Once the

Idaho law takes effect on August 25, 2022, Idaho Code § 18-622 will make it a felony to perform an

abortion in all but extremely narrow circumstances. The Idaho law would make it a criminal offense

for doctors to comply with EMTALA’s requirement to provide stabilizing treatment, even where a

doctor determines that abortion is the medical treatment necessary to prevent a patient from suffering

severe health risks or even death.

       4.       Under the Idaho law, once effective, any state or local prosecutor can subject a

physician to indictment, arrest, and prosecution merely by showing that an abortion has been

performed, without regard to the circumstances. The law then puts the burden on the physician to

prove an “affirmative defense” at trial. Idaho Code § 18-622(3) (2022). Nothing protects a physician



                                                   2
            Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 3 of 17



from arrest or criminal prosecution under Idaho’s law, and a physician who provides an abortion in

Idaho can avoid criminal liability only by establishing that “the abortion was necessary to prevent the

death of the pregnant woman” or that, before performing the abortion, the pregnant patient (or, in

some circumstances, their parent or guardian) reported an “act of rape or incest” against the patient

to a specified agency and provided a copy of the report to the physician. Id. Beyond care necessary

to prevent death, the law provides no defense whatsoever when the health of the pregnant patient is

at stake. And, even in dire situations that might qualify for the Idaho law’s limited “necessary to

prevent the death of the pregnant woman” affirmative defense, some providers could withhold care

based on a well-founded fear of criminal prosecution.

       5.       Idaho’s abortion law will therefore prevent doctors from performing abortions even

when a doctor determines that abortion is the medically necessary treatment to prevent severe risk to

the patient’s health and even in cases where denial of care will likely result in death for the pregnant

patient. To the extent Idaho’s law prohibits doctors from providing medically necessary treatment,

including abortions, that EMTALA requires as emergency medical care, Idaho’s new abortion law

directly conflicts with EMTALA. See 42 U.S.C. § 1395dd(f) (EMTALA preempts State laws “to the

extent that the requirement directly conflicts with a requirement of this section”). To the extent

Idaho’s law renders compliance with EMTALA impossible or stands as an obstacle to the

accomplishment of federal statutes and objectives, EMTALA preempts the Idaho law under the

Supremacy Clause of the United States Constitution.

       6.       In this action, the United States seeks a declaratory judgment that Idaho’s law is invalid

under the Supremacy Clause and is preempted by federal law to the extent that it conflicts with

EMTALA. The United States also seeks an order preliminarily and permanently enjoining Idaho’s

restrictive abortion law to the extent it conflicts with EMTALA.




                                                    3
             Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 4 of 17



                                  JURISDICTION AND VENUE

        7.       This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1345.

        8.       Venue is proper in this judicial district under 28 U.S.C. § 1391(b) because Defendant

resides within this judicial district and because a substantial part of the acts or omissions giving rise to

this action arose from events occurring within this judicial district.

        9.       Pursuant to D. Idaho Civ. R. 3.1, venue is proper in the Southern Division because

Defendant legally resides in Ada County, Idaho, and because that is where the claim for relief arose.

                                                PARTIES

        10.      Plaintiff is the United States of America.

        11.      Defendant, the State of Idaho, is a State of the United States. The State of Idaho

includes all of its officers, employees, and agents.

                                SUPREMACY OF FEDERAL LAW

  I.    The Supremacy Clause and Preemption

        12.      The Supremacy Clause of the U.S. Constitution mandates that “[t]his Constitution,

and the Laws of the United States which shall be made in Pursuance thereof . . . shall be the supreme

Law of the Land . . . any Thing in the Constitution or Laws of any State to the Contrary

notwithstanding.” U.S. Const. art. VI, cl. 2.

        13.      “[S]tates have no power . . . to retard, impede, burden, or in any manner control the

operations of the Constitutional laws enacted by [C]ongress to carry into effect the powers vested in

the national government.” M’Culloch v. Maryland, 17 U.S. (4 Wheat.) 316, 317 (1819). “There is no

doubt Congress may withdraw specified powers from the States by enacting a statute containing an

express preemption provision,” and a State law is invalid if it conflicts with such a provision. Arizona

v. United States, 567 U.S. 387, 399 (2012). Likewise, a State law is invalid if compliance with the state




                                                       4
            Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 5 of 17



and federal law is impossible or if the state law “stands as an obstacle to the accomplishment and

execution of the full purposes and objectives of Congress.” Hines v. Davidowitz, 312 U.S. 52, 67 (1941).

 II.    The Emergency Medical Treatment and Labor Act (EMTALA)

        14.     Medicare, enacted in 1965 as Title XVIII of the Social Security Act, 42 U.S.C. § 1395

et seq., is a federally funded program, administered by the Secretary of the Department of Health and

Human Services (HHS), that pays health care providers or insurers for health care services under

certain circumstances.

        15.     Medical providers’ participation in Medicare is voluntary. When providers agree to

participate in Medicare, they submit provider agreements to the Secretary of HHS. See 42 U.S.C.

§ 1395cc. Hospitals submitting such agreements agree that they will “adopt and enforce a policy to

ensure compliance with the requirements of [EMTALA] and to meet the requirements of

[EMTALA].” Id. § 1395cc(a)(1)(I)(i).

        16.     Under EMTALA, hospitals participating in Medicare are generally required to provide

stabilizing health care to all patients who arrive at an emergency department suffering from an

emergency medical condition. See 42 U.S.C. § 1395dd.

        17.     Specifically, EMTALA requires these hospitals to “screen” patients who request

treatment at the hospital’s emergency department and provide “necessary stabilizing treatment,”

including an appropriate transfer to another facility that is able to provide stabilizing care not available

at the originating hospital, for any “emergency medical condition” the hospital identifies. 42 U.S.C.

§ 1395dd.

        18.     The screening requirement necessitates that hospitals act “to determine whether or

not an emergency medical condition” exists. Id. § 1395dd(a); see also 42 C.F.R. § 489.24(a) (noting that

EMTALA requires “an appropriate medical screening examination within the capability of the

hospital’s emergency department”).



                                                     5
          Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 6 of 17



        19.     Congress defined an “emergency medical condition” in EMTALA as:

        (A) a medical condition manifesting itself by acute symptoms of sufficient severity (including
        severe pain) such that the absence of immediate medical attention could reasonably be
        expected to result in-

                (i) placing the health of the individual (or, with respect to a pregnant woman, the
                health of the woman or her unborn child) in serious jeopardy,

                (ii) serious impairment to bodily functions, or

                (iii) serious dysfunction of any bodily organ or part …

        (B) with respect to a pregnant woman who is having contractions-

                 (i) that there is inadequate time to effect a safe transfer to another hospital before
                 delivery, or

                 (ii) that transfer may pose a threat to the health or safety of the woman or the unborn
                 child.

42 U.S.C. § 1395dd(e)(1).

        20.     If the hospital determines an individual has an emergency medical condition, “the

hospital must provide either” (1) “further medical examination and such treatment as may be required

to stabilize the medical condition,” or (2) “transfer of the individual to another medical facility in

accordance with” certain requirements. Id. § 1395dd(b)(1); see also 42 C.F.R. § 489.24(a)(1)(i)-(ii). The

hospital may also “admit[] th[e] individual as an inpatient in good faith in order to stabilize the

emergency medical condition.” 42 C.F.R. § 489.24(d)(2)(i).

        21.     EMTALA defines “to stabilize” to mean “to provide such medical treatment of the

condition as may be necessary to assure, within reasonable medical probability, that no material

deterioration of the condition is likely to result from or occur during the transfer of the individual

from a facility.” 42 U.S.C. § 1395dd(e)(3)(A). The term “transfer” is defined to include “discharge”

of a patient. Id. § 1395dd(e)(4).

        22.     A hospital may not transfer (including by discharging) an individual with an emergency

medical condition who has not been stabilized, unless, inter alia, the individual requests a transfer or a


                                                    6
          Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 7 of 17



physician certifies that the benefits of a transfer to another medical facility outweigh the increased

risks to the patient. Id. § 1395dd(c).

        23.     In short, when an emergency medical condition exists, EMTALA requires

participating hospitals to provide “stabilizing” treatment, as determined by the particular hospital’s

facilities and the treating physician’s professional medical judgment.

        24.     As relevant here, there are some pregnancy-related emergency medical conditions—

including, but not limited to, ectopic pregnancy, severe preeclampsia, or a pregnancy complication

threatening septic infections or hemorrhage—for which a physician could determine that the

necessary stabilizing treatment is care that could be deemed an “abortion” under Idaho law.1 In that

scenario, EMTALA requires the hospital to provide that stabilizing treatment. See Dep’t of Health

and Human Servs., Reinforcement of EMTALA Obligations specific to Patients who are Pregnant or are

Experiencing Pregnancy Loss, CENTERS FOR MEDICARE & MEDICAID SERVICES (July 11, 2022),

https://www.cms.gov/files/document/qso-22-22-hospitals.pdf; see also Reinforcement of EMTALA

Obligations specific to Patients who are Pregnant or are Experiencing Pregnancy Loss, CENTERS FOR

MEDICARE              &         MEDICAID               SERVICES          (Sept.      17,       2021),

https://www.cms.gov/files/document/qso-21-22-hospital.pdf.

        25.     EMTALA contains an express preemption provision, which preempts State laws “to

the extent that the requirement directly conflicts with a requirement of this section.” 42 U.S.C.

§ 1395dd(f).




1
 Termination of an ectopic pregnancy—which can never lead to a live birth and poses inherent danger
to pregnant patients—is not considered an abortion by medical experts. However, the termination of
an ectopic pregnancy appears to fall within Idaho’s broad definition of abortion. See Idaho Code § 18-
604(1).


                                                   7
          Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 8 of 17



                                   IDAHO’S ABORTION LAW

       26.     In 2020, Idaho enacted a law that severely restricts abortions and threatens criminal

prosecution against anyone who performs an abortion. The law, codified at Idaho Code § 18-622, is

currently set to take effect on August 25, 2022, which is 30 days after issuance of the judgment in

Dobbs v. Jackson Women’s Health Organization, 142 S. Ct. 2228 (2022). See Idaho Code § 18-622(1)(a).

       27.     Under Idaho’s abortion law, “[e]very person who performs or attempts to perform an

abortion . . . commits the crime of criminal abortion.” Id. § 18-622(2). The crime of “criminal

abortion” is a felony, punishable by two to five years imprisonment. Id.

       28.     Idaho’s law also requires that “[t]he professional license of any health care professional

who performs or attempts to perform an abortion or who assists in performing or attempting to

perform an abortion in violation of this subsection shall be suspended by the appropriate licensing

board for a minimum of six (6) months upon a first offense and shall be permanently revoked upon

a subsequent offense.” Id. (emphasis added).

       29.     The Idaho law defines “[a]bortion” to mean “the use of any means to intentionally

terminate the clinically diagnosable pregnancy of a woman with knowledge that the termination by

those means will, with reasonable likelihood, cause the death of the unborn child.” Id. § 18-604(1).

       30.     The prima facie criminal prohibition in Idaho’s law does not contain any exceptions for

when the pregnant patient’s health or life is endangered. Thus, the mere performance of an

abortion—even in an emergency, life-saving scenario—would subject a provider to criminal

prosecution and require the provider to raise one of the law’s narrow affirmative defenses at trial.

       31.     Idaho’s abortion law provides for only two affirmative defenses, either of which the

provider must prove by a preponderance of the evidence. In other words, once a prosecutor or

licensing authority proves the prima facie case of an abortion having been performed, an accused

physician may try to avoid conviction, incarceration, and loss of license by raising one of two



                                                   8
            Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 9 of 17



affirmative defenses, but bears the burden of proving the defense to a jury, along with the expense

and uncertainty that flow from that burden.

         32.       Specifically, the accused physician would have to prove to a jury: (1) that “[t]he

physician determined, in his good faith medical judgment and based on the facts known to the

physician at the time, that the abortion was necessary to prevent the death of the pregnant woman,”

or (2) in cases of rape or incest, that the woman, or, if a minor, the woman or her parent or guardian,

“has reported the act of rape or incest to a law enforcement agency” and the physician, prior to

performing the abortion, received a copy of a police report (or, in the case of a minor, a police report

or report to child protective services) regarding “the act of rape or incest.” Idaho Code § 18-

622(3)(a)(ii), (b)(ii)-(iii).

         33.       There is no affirmative defense applicable in circumstances where an abortion is

necessary to ensure the health of the pregnant patient—even where the patient faces serious medical

jeopardy or impairment—if the care is not “necessary to prevent the death” of the patient.

         34.       In addition, it is a requirement for both affirmative defenses, and thus the physician

would have to prove, that the physician “performed or attempted to perform the abortion in the

manner that, in his good faith medical judgment and based on the facts known to the physician at the

time, provided the best opportunity for the unborn child to survive, unless, in his good faith medical

judgment, termination of the pregnancy in that manner would have posed a greater risk of the death

of the pregnant woman.” Id. § 18-622(3)(a)(iii), (b)(iv).

                    IDAHO’S ABORTION LAW CONFLICTS WITH EMTALA

         35.       Within the State of Idaho, there are approximately 43 hospitals that voluntarily

participate in Medicare. Approximately 39 of those hospitals have emergency departments that are

required to comply with EMTALA.




                                                     9
         Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 10 of 17



        36.     Idaho’s criminal prohibition of all abortions, subject only to the statute’s two limited

affirmative defenses, conflicts with EMTALA. Idaho’s criminal prohibition extends even to abortions

that a physician determines are necessary stabilizing treatment that must be provided under EMTALA.

        37.     In particular, EMTALA’s definition of an emergency medical condition—for which

the hospital would be required to facilitate stabilizing treatment—is broader than just those

circumstances where treatment is “necessary to prevent . . . death” under Idaho law. For example,

EMTALA requires stabilizing treatment where “the health” of the patient is “in serious jeopardy,” or

where continuing a pregnancy could result in a “serious impairment to bodily functions” or a “serious

dysfunction of any bodily organ or part.” 42 U.S.C. § 1395dd(e)(1)(A)(i)-(iii). Idaho has criminalized

performing abortions in those circumstances, even when a physician has determined that an abortion

is the necessary stabilizing treatment for a patient’s emergency medical condition. The Idaho law

therefore conflicts with federal law and is, in this respect, preempted.

        38.     The Idaho law also conflicts with EMTALA because the only limited protection it

affords for even life-saving abortions is in the form of an affirmative defense where the provider bears

the burden of proof at trial. Idaho’s law subjects every provider who performs an abortion to the

threat of indictment, arrest, and criminal prosecution. The law likewise subjects every provider and

employee who performs or assists in performing an abortion to potential loss of their medical license.

By threatening providers with criminal prosecution and license revocation proceedings for every

abortion, regardless of whether it was “necessary to prevent . . . death,” the Idaho law will deter

physicians from performing abortions they have determined are medically necessary and thus must be

provided under federal law. This is true even in the limited situations in which the abortions could be

deemed defensible at a physician’s criminal trial. “Where a prosecution is a likely possibility, yet only

an affirmative defense is available,” there “is a potential for extraordinary harm and a serious chill”

upon protected conduct. Ashcroft v. ACLU, 542 U.S. 656, 670-71 (2004). Here, the law’s obvious



                                                   10
           Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 11 of 17



chilling effect on providers’ willingness to perform abortions, even when abortions are determined to

be necessary medical treatments, is itself an impediment to the accomplishment of EMTALA’s goal

of ensuring that patients receive emergency care. The Idaho law is therefore preempted.

         IDAHO’S ABORTION LAW CAUSES INJURY TO FEDERAL INTERESTS

          39.    The Idaho abortion law will become effective on August 25, 2022.

          40.    Following the Supreme Court’s decision in Dobbs, the Governor of Idaho issued a

press release stating that “Idaho has been at the forefront of enacting new laws” to restrict abortion,

and specifically referencing § 18-622 as a bill that the Governor “signed into law” and “will go into

effect later this summer.”2

          41.    Before filing this lawsuit, on July 29, 2022, the United States sent a letter to the State

of Idaho, expressing the United States’ view that § 18-622 was contrary to federal law. The United

States did not receive a substantive response.

          42.    Once the law goes into effect on August 25, 2022, providers will immediately be

subject to the threat of arrest, imprisonment, criminal liability, and loss of license for providing

federally required care.

          43.    Severe harm will result from Idaho’s law, which violates the Supremacy Clause. See

New Orleans Pub. Serv., Inc. v. Council of City of New Orleans, 491 U.S. 350, 366-67 (1989) (assuming that

irreparable injury may be established “by a showing that the challenged state statute is flagrantly and

patently violative of . . . the express constitutional prescription of the Supremacy Clause” (citation

omitted)).

    I.    Idaho’s Abortion Law Threatens Severe Public Health Consequences

          44.    If Idaho’s abortion law is allowed to take effect, physicians in Idaho will be threatened

with prosecution under a state law that prohibits them from providing necessary stabilizing medical


2
    https://gov.idaho.gov/pressrelease/gov-little-comments-on-scotus-overrule-of-roe-v-wade/


                                                    11
          Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 12 of 17



treatment required by EMTALA. Physicians will be faced with an untenable choice—either to

withhold critical stabilizing treatment required under EMTALA or to risk criminal prosecution and

potential loss of their professional licenses. As a result of Idaho’s physicians being placed in this

position, patients will suffer—including by having their care delayed or losing access to necessary

health care that is guaranteed under federal law. Particularly in emergency circumstances, or when

dealing with considerations of risk to an individual’s life or health, delayed health care can pose serious

harms and is exactly what EMTALA’s requirements are designed to prevent. In short, the Idaho law

threatens severe public health consequences.

         45.    For example, pregnant patients sometimes arrive at a hospital’s emergency department

with an emergency medical condition for which physicians reasonably determine that the appropriate

stabilizing treatment is an emergency abortion. Physicians facing a threat of criminal prosecution for

performing an emergency abortion may be reluctant to perform the procedure—even when their

medical judgment leads them to conclude that the procedure is necessary. The loss of that necessary

treatment will result in irreversible damage to the health of a pregnant patient in some instances, and

in other cases could lead to death.

         46.    The Idaho law will deprive pregnant patients of necessary treatment required by

EMTALA notwithstanding the Idaho law’s affirmative defense for abortions “necessary to prevent

the death of the pregnant woman.” Idaho Code § 18-622(3)(a)(ii). Because that defense is available

only during criminal prosecution or licensing proceedings, the law still subjects providers to the threat

of criminal prosecution and potential loss of license for performing a life-saving abortion. And even

the law’s affirmative defense does not allow for abortions in emergency situations where pregnancy

can reasonably be expected to place the health of the pregnant patient in serious jeopardy, seriously

impair the pregnant patient’s bodily functions, or cause serious dysfunction of any bodily part or

organ.



                                                    12
         Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 13 of 17



 II.   Idaho’s Law Interferes with EMTALA Obligations under the Federal Medicare
       Program

       47.     As discussed above, Idaho’s abortion law directly conflicts with the important federal

policy reflected in EMTALA, 42 U.S.C. § 1395dd, through which Congress codified a guarantee of

necessary stabilizing medical treatment for patients with emergency medical conditions, including

pregnant patients, who seek care at emergency departments. See id. § 1395dd(a), (b), (e)(1), (g).

       48.     Congress intended EMTALA to govern nationwide in every hospital that accepts

Medicare funds, as confirmed by its express preemption of conflicting State laws. Id. § 1395dd(f).

Idaho’s law frustrates Congress’s objective of guaranteeing nationwide emergency medical care at

Medicare hospitals, because Idaho law prohibits a particular form of medical treatment—even when

that treatment is necessary to stabilize a patient experiencing an emergency medical condition. The

United States has a strong sovereign interest in ensuring that States may not disrupt the federal

objectives embodied in EMTALA, particularly when States seek to hold physicians criminally liable

for providing stabilizing emergency treatment required under federal law.

       49.     The United States has an interest in protecting the integrity of the funding it provides

under Medicare and ensuring that hospitals who are receiving Medicare funding will not refuse to

provide stabilizing treatment to patients experiencing medical emergencies. From 2019 to 2020, HHS

paid approximately 74 million dollars for emergency department care in Idaho hospitals enrolled in

Medicare. A condition of hospitals’ enrollment in Medicare is that they agree to comply with

EMTALA. See id. § 1395cc(a)(1)(I)(i). Thus, part of the United States’ bargain when it agrees to

provide Medicare reimbursement to hospitals is that those hospitals will, in return, provide all forms

of stabilizing treatment to emergency department patients, consistent with EMTALA.

       50.     Idaho’s law prevents the United States from receiving the benefit of its bargain,

however, by affirmatively prohibiting Idaho hospitals from complying with certain obligations under

EMTALA. Thus, Idaho’s law undermines the overall Medicare program and the funds that the United


                                                  13
          Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 14 of 17



States provides in connection with that program, by precluding the United States from receiving one

of the benefits to which it is entitled under the Medicare program.

         51.    Idaho’s law also improperly interferes with the United States’ pre-existing agreements

with hospitals under Medicare. Under these agreements, each hospital (including those in Idaho) must

certify that it “agrees to conform to the provisions of section 1866 of the Social Security Act and

applicable provisions in 42 CFR,” CMS Form 1561, and those referenced provisions likewise include

obligations to comply with EMTALA.3

         52.    Approximately 43 hospitals in Idaho have signed Medicare agreements, and

approximately 39 of those hospitals have emergency departments that must comply with EMTALA.

Compliance with Idaho’s law would force these hospitals to violate their agreements with the United

States because Idaho criminalizes the provision of stabilizing medical services required by EMTALA,

and thus Idaho’s law likewise interferes with the United States’ interests.

         53.    Waiting to initiate federal enforcement actions directly against physicians or hospitals

would likely have significant negative consequences on public health, including because such actions

could be pursued only after physicians or hospitals had first denied emergency care to an individual in

need. Unless the action is filed against a state-run hospital, the State would not be a party to a federal

enforcement action, and the State’s absence would further delay the resolution of this issue.

Meanwhile, patients would be denied important life-saving and stabilizing medical care, resulting in

needless suffering and even loss of life. Physicians and hospitals should not be placed in the untenable

position of risking criminal prosecution under state law or subjecting themselves to enforcement

actions under federal law. Pregnant patients who arrive at an emergency department are entitled to

the stabilizing emergency care ensured under federal law when experiencing life- or health-threatening

conditions.

3
    https://www.cms.gov/Medicare/CMS-Forms/CMS-Forms/downloads/cms1561.pdf


                                                   14
          Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 15 of 17



         54.   The law likewise stands as an obstacle to Congress’s goal of ensuring that patients

receive effective emergency care by threatening the professional license of any health care professional

who “assists” in performing or attempting to perform an abortion. Idaho Code § 18-622(2). In

particular, the law threatens a six-month suspension of the license of any health care professional who

assists in an abortion or, on a second offense, threatens to permanently bar these providers from their

professional practice. A pregnant patient who arrives in the emergency department with an emergency

condition is likely to encounter not just emergency department physicians but also triage nurses, scrub

nurses, lab techs, radiologists, anesthesiologists, and others whose role in any procedure could

constitute “assisting” in the performance of an abortion. By threatening the license of other hospital

employees whose care is critical to providing emergency department care, Idaho’s law impedes

EMTALA’s goal of ensuring that patients receive effective emergency care.

                                       CLAIM FOR RELIEF

                    Preemption Under the Supremacy Clause and EMTALA

         55.   Plaintiff hereby incorporates paragraphs 1 through 54 as if fully set forth herein.

         56.   The Supremacy Clause provides that “[t]his Constitution, and the Laws of the United

States which shall be made in Pursuance thereof . . . shall be the supreme Law of the Land . . . any

Thing in the Constitution or Laws of any State to the Contrary notwithstanding.” U.S. Const. art. VI,

cl. 2.

         57.   EMTALA expressly preempts State laws “to the extent that the requirement directly

conflicts with a requirement of this section.” 42 U.S.C. § 1395dd(f). Idaho Code § 18-622 violates

the Supremacy Clause and is preempted to the extent it is contrary to EMTALA.

         58.   The law imposes requirements that are contrary to EMTALA and impedes the

accomplishment and execution of the full purposes and objectives of federal law and is therefore

preempted.



                                                  15
        Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 16 of 17



       59.     The Idaho law therefore violates the Supremacy Clause and is preempted under federal

law to the extent that it conflicts with EMTALA.

                                     PRAYER FOR RELIEF

       WHEREFORE, the United States respectfully requests the following relief:

             a. A declaratory judgment stating that Idaho Code § 18-622 violates the Supremacy

                 Clause and is preempted and therefore invalid to the extent that it conflicts with

                 EMTALA;

             b. A declaratory judgment stating that Idaho may not initiate a prosecution against, seek

                 to impose any form of liability on, or attempt to revoke the professional license of

                 any medical provider based on that provider’s performance of an abortion that is

                 authorized under EMTALA;

             c. A preliminary and permanent injunction against the State of Idaho—including all of

                 its officers, employees, and agents—prohibiting enforcement of Idaho Code § 18-

                 622(2)-(3) to the extent that it conflicts with EMTALA;

             d. Any and all other relief necessary to fully effectuate the injunction against Idaho Code

                 § 18-622’s enforcement to the extent it conflicts with EMTALA;

             e. The United States’ costs in this action; and

             f. Any other relief that the Court deems just and proper.




                                                   16
        Case 1:22-cv-00329-BLW Document 1 Filed 08/02/22 Page 17 of 17



Dated: August 2, 2022                          Respectfully submitted,

SAMUEL BAGENSTOS                               BRIAN M. BOYNTON
General Counsel                                Principal Deputy Assistant Attorney General

PAUL R. RODRÍGUEZ                              BRIAN D. NETTER
Deputy General Counsel                         Deputy Assistant Attorney General

DAVID HOSKINS                                  JOSHUA REVESZ
Supervisory Litigation Attorney                Counsel, Office of the Assistant Attorney
                                               General

JESSICA BOWMAN                                 ALEXANDER K. HAAS
MELISSA HART                                   Director, Federal Programs Branch
Attorneys
Department of Health and Human Services        DANIEL SCHWEI
200 Independence Ave., SW                      Special Counsel
Washington, DC 20201
                                               /s/ Lisa Newman
                                               LISA NEWMAN (TX Bar No. 24107878)
                                               ANNA DEFFEBACH
                                               EMILY NESTLER
                                               Trial Attorneys

                                               JULIE STRAUS HARRIS
                                               Senior Trial Counsel

                                               U.S. Department of Justice
                                               Civil Division, Federal Programs Branch
                                               1100 L Street, N.W.
                                               Washington, D.C. 20005
                                               Tel: (202) 514-5578
                                               lisa.n.newman@usdoj.gov

                                               Counsel for Plaintiff




                                          17
